                 IN THE UNITED STATES DISTRICT COURT
             FOR THE WESTERN DISTRICT OF NORTH CAROLINA

                      CIVIL ACTION FILE NO. 5:23-cv-00059

CROWN EQUIPMENT                            )
CORPORATION,                               )
                                           )
      Plaintiff,                           )
                                           )
v.                                         )
                                           )
DAVID BRADY, WILLIAM TUCKER,               )                 ORDER
JOSEPH BOGGS, BRAWTUS                      )
HOLDING COMPANY, INC. (f/k/a               )
Pneu-Mech Systems Manufacturing,           )
Inc.), BRAWTUS, MANAGEMENT                 )
COMPANY, LLC, PNEU-MECH                    )
SYSTEMS MANUFACTURING, LLC                 )
(K.N.A. Pneu-Mech Dissolution, LLC),       )
PNEU-MECH SYSTEMS                          )
MANUFACTURING, INC., UNITED                )
FINISHING SYSTEMS LLC,                     )
                                           )
      Defendants.                          )
                                           )


      THIS MATTER comes before the undersigned upon Defendant JOSEPH
BOGGS’ Motion for an Order enlarging the time within which to serve responsive
and defensive pleadings to Plaintiff’s Complaint.
      The initial time period allotted to Defendant to respond to Plaintiff’s
Complaint has not expired, and good cause exists for said enlargement of time
within which to file responsive and defensive pleadings. Counsel for Defendant has
conferred with counsel for Plaintiff who does not object to the Motion.
      IT IS THEREFORE ORDERED that the time within which Defendant
Joseph Boggs may serve responsive and defensive pleadings to Plaintiff’s Complaint
be, and the same hereby is, enlarged to and including August 7, 2023.




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     This the _____ day of _________________, 2023.


                              _____________________________________________
                              UNITED STATES CLERK/JUDGE PRESIDING




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